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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

             JOAQUIN SUAREZ FLORES,                    :    CRIMINAL NO.
                 Movant,                               :    1:07-CR-0279-CAP-GGB-14
                                                       :
                   v.                                  :    CIVIL ACTION NO.
                                                       :    1:13-CV-1347-CAP-GGB
             UNITED STATES OF AMERICA,                 :
                 Respondent.                           :    MOTION TO VACATE
                                                       :    28 U.S.C. § 2255


                             FINAL REPORT AND RECOMMENDATION

                   Movant, Joaquin Suarez Flores, has filed a motion to vacate sentence under 28

             U.S.C. § 2255. [Doc. 2054]. Under Rule 4 of the Rules Governing § 2255

             Proceedings for the U.S. District Courts, the Court must “promptly examine” the

             motion and determine whether “it plainly appears from the motion, any attached

             exhibits, and the record of prior proceedings that the moving party is not entitled to

             relief.” If it does so appear, the Court “must dismiss the motion.” Rule 4, § 2255

             Proceedings. I have examined Movant’s § 2255 motion and the record in this case

             and find it plainly apparent that Movant is not entitled to relief for the reasons

             explained below.




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             I. Background

                   On June 22, 2009, Movant was convicted following a jury trial of conspiracy

             to possess with intent to distribute cocaine, in violation of 21 U.S.C. §§ 846 and

             841(a)(1) & (b)(1)(A)(ii), and conspiracy to launder money, in violation of 18 U.S.C.

             § 1956(h). [Doc. 1267]. On December 14, 2009, Movant was sentenced to a total

             term of 304 months of imprisonment. [Doc. 1650]. Movant appealed, and on June

             30, 2010, the United States Court of Appeals for the Eleventh Circuit affirmed his

             convictions and sentences. United States v. Suarez Flores, 385 F. App’x 881 (11th

             Cir. 2010); [Doc. 1841]. On November 1, 2010, Movant’s petition for writ of

             certiorari was denied by the United States Supreme Court. Flores v. United States,

             131 S. Ct. 549 (2010). On May 2, 2011, the United States Supreme Court again

             denied Movant’s petition for writ of certiorari. Flores v. United States, 131 S. Ct.

             2890 (2011).

                   On April 15, 2013, Movant signed a motion to vacate under § 2255, and the

             motion was filed in this Court on April 23, 2013. [Doc. 2054]. In his motion,

             Movant argues that his attorney was ineffective in failing to advise him of a plea offer

             based on the Supreme Court’s holdings in Missouri v. Frye, 132 S. Ct. 1399 (2012),

             and Lafler v. Cooper, 132 S. Ct. 1376 (2012).

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             II. Discussion

                   Under the Anti-Terrorism and Effective Death Penalty Act of 1996

             (“AEDPA”), federal prisoners must file a 28 U.S.C. § 2255 motion to vacate within

             one year of the latest of four specified events:

                   (1) the date on which the judgment of conviction becomes final;

                   (2) the date on which the impediment to making a motion created by
                   governmental action in violation of the Constitution or laws of the
                   United States is removed, if the movant was prevented from making
                   such a motion by such governmental action;

                   (3) the date on which the right asserted was initially recognized by the
                   Supreme Court, if that right has been newly recognized by the Supreme
                   Court and made retroactively applicable to cases on collateral review;
                   or

                   (4) the date on which the facts supporting the claim or claims presented
                   could have been discovered through the exercise of due diligence.

             28 U.S.C. § 2255(f).

                   The § 2255 statute of limitations began to run on the date Movant’s convictions

             and sentences became final. Movant’s convictions became final on May 2, 2011,

             when the Supreme Court denied certiorari. See Gonzalez v. Thaler, 132 S. Ct. 641,

             653 (2012) (holding that a federal judgment becomes final, for purposes of the

             AEDPA’s statute of limitations, when the Supreme Court affirms a conviction on the



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             merits on direct review or denies a petition for a writ of certiorari, or, if the prisoner

             does not seek certiorari, when the time for filing a certiorari petition expires).

                   Movant had one year from the date his convictions became final, or until May

             2, 2012, to file a motion to vacate. Movant filed his motion to vacate in this Court

             on April 15, 2013, almost a year after the limitation period expired.1 Because

             Movant’s motion to vacate was filed outside the limitation period, it is untimely.

                   Movant bases his claims on the Supreme Court cases of Missouri v. Frye, 132

             S. Ct. 1399 (2012) and Lafler v. Cooper, 132 S. Ct. 1376 (2012). Although Movant

             does not specifically make this argument, he appears to be basing his claims on these

             cases in an attempt to show that his motion should be considered timely, presumably

             under § 2255(f)(3). However, the Eleventh Circuit has determined that neither Frye

             nor the related case of Lafler announced a newly recognized right that applies

             retroactively to cases on collateral review. Instead, in Frye and Lafler, “the Supreme

             Court clarified that the Sixth Amendment right to effective assistance of counsel . . .

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                     Under the “prison mailbox rule,” a pro se prisoner’s court filing is deemed
             filed on the date it is delivered to prison authorities for mailing. Houston v. Lack, 487
             U.S. 266, 275-76 (1988). I have used the date that Movant signed the petition as the
             date that it was delivered for mailing. See Washington v. United States, 243 F.3d
             1299, 1301 (11th Cir. 2001) (holding that, absent evidence to the contrary, a
             prisoner’s pro se motion to vacate would be treated as having been delivered to prison
             officials on the date that the prisoner signed it).

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             extends to the negotiation and consideration of plea offers that lapse or are rejected.”

             In re Perez, 682 F.3d 930, 932 (11th Cir. 2012). See Martin-Lopez v. United States,

             1:07–CR–0257–JEC–GGB at Docs. 946, 949 (finding that Lafler and Frye did not

             announce newly recognized retroactive rights for purpose of the calculation of the

             one-year period of limitation under § 2255(f)(3)). Moreover, even if Frye and Lafler

             applied, Movant did not file his motion within one year of the date of the Supreme

             Court’s decisions in those cases. For these reasons, Movant’s § 2255 motion is

             time-barred.

                   The one-year limitation period is subject to equitable tolling. See Holland v.

             Florida, 130 S. Ct. 2549 (2010). In order to obtain equitable tolling of the AEDPA’s

             filing deadlines, Movant must show that: (1) he had been pursuing his rights

             diligently, and (2) some extraordinary circumstance stood in his way and prevented

             timely filing. Id. at 2562 (citation omitted). Equitable tolling is generally limited to

             rare and exceptional circumstances. See Helton v. Sec’y for Dep’t of Corr., 233 F.3d

             1322, 1325 (11th Cir. 2000). Movant does not raise any argument to justify tolling

             the limitation period. Thus, Movant is not entitled to equitable tolling of the

             limitation period.




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             III. Certificate of Appealability

                   According to Rule 11 of the Rules Governing Section 2255 Proceedings for the

             United States District Courts, a district court “must issue or deny a certificate of

             appealability when it enters a final order adverse to the applicant.” Under 28 U.S.C.

             § 2253(c)(2), a certificate of appealability shall not issue unless “the applicant has

             made a substantial showing of the denial of a constitutional right.” A prisoner

             satisfies this standard by demonstrating that reasonable jurists would find that the

             district court’s assessment of his constitutional claims is debatable or wrong and that

             any dispositive procedural ruling by the district court is likewise debatable. See

             Miller-El v. Cockrell, 537 U.S. 322, 336 (2003); Slack v. McDaniel, 529 U.S. 473,

             484 (2000).

                   Movant has failed to make a substantial showing of the denial of a

             constitutional right. Movant filed his § 2255 motion after expiration of the limitation

             period, and he has failed to show that he is entitled to any tolling of the one-year

             period. Accordingly, I RECOMMEND that a certificate of appealability be

             DENIED.




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             IV. Conclusion

                   Based on the foregoing, I RECOMMEND that Movant Joaquin Suarez

             Flores’s motion to vacate sentence [Doc. 2054] be DENIED as untimely.

                   I FURTHER RECOMMEND that a certificate of appealability be DENIED.

                   The Clerk is DIRECTED to terminate the referral to me.

                   IT IS SO RECOMMENDED, this 20th day of May, 2013.




                                                 GERRILYN G. BRILL
                                                 UNITED STATES MAGISTRATE JUDGE




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